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                                                  U. S. DISTRICT COURT
                                                   Southorn District of Ga.
            IN THE UNITED STATES DISTRICT COURT FOfHOdIflOffice
                THE SOUTHERN DISTRICT OF GEORGIA—
                        SAVANNAH DIVISION                Ii \         20 tL
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ANTONIO DAWON WOODLEY,             )                     Deputy Clerk

     Petitioner,

AM                                        CASE NOS. CV413-167
                                                    CR4 08-315
UNITED STATES OF AMERICA,

     Respondent.


                             ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation, to which no objections have been filed.

(Doc. 7.) After a careful de novo review of the record,

the report and recommendation          is ADOPTED    as the Court's

opinion in this case. As a result, Petitioner's 28 U.S.C.

§ 2255 Petition is DENIED.        The Clerk of Court is DIRECTED

to close this case.
                        .046
     SO ORDERED this 2?'day of November 2013.



                                   WILLIAM T. MOORE, J
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
